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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  FREDDIE LAMP,

        Plaintiff,
                                                      CASE NO.: 8:17-cv-01716-EAK-AAS
 v.

  SYNCHRONY BANK,

        Defendant.


_____________________________________________________________________________

                          NOTICE OF PENDING SETTLEMENT


       Plaintiff, FREDDIE LAMP, by and through his undersigned counsel, hereby submits this

Notice of Settlement and states that Plaintiff, FREDDIE LAMP and Defendant, SYNCHRONY

BANK, have reached a settlement with regard to this case and are presently drafting, finalizing,

and executing the settlement and dismissal documents. Upon execution of same, the parties will

file the appropriate dismissal documents with the Court.



                                               /s/Amanda J. Allen, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on September 4, 2018, the foregoing was served using the

CM/ECF system, which will provide electronic notice of filing to all counsel of record.



                                                 /s/Amanda J. Allen, Esq.
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